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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 MILLENS METAL RECYCLING OF
 KINGSTON, LLC, BARNEY MILLENS SCRAP
 & IRON INC. D/B/A CHARLES EFFRON &                    Civil Action No. 7:17-cv-01265 (KMK)
 SON, and JOAN MILLENS,

                                      Plaintiffs,

                      -against-

 PHILADELPHIA INDEMNITY INSURANCE
 COMPANY,

                                      Defendant.


     NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs Millens

Metal Recycling of Kingston, LLC, Barney Millens Scrap & Iron Inc. d/b/a/ Charles Effron &

Son, and Joan Millens, by their undersigned counsel, hereby give notice that all claims in the

above-captioned action against Defendant Philadelphia Indemnity Insurance Company are

voluntarily dismissed without prejudice.

Dated: New York, New York
       June 14, 2017


                                              /s/ Kyle C. Bisceglie
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                                              Kingston LLC, Barney Millens Scrap & Iron Inc.
                                              d/b/a Charles Effron & Son, and Joan Millens
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